Case 1:21-cv-00032-JPJ-PMS Document 1 Filed 06/22/21 Page 1 of 56 Pageid#: 1




                         IN THE UNITES STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF VIRGINIA
                                  ABINGDON DIVISION


UNITED STATES OF AMERICA,                    )
                                             )
and                                          )
                                             )
COMMONWEALTH OF VIRGINIA,                    )
                                             )
                                             )      Civil Action No.
               Plaintiffs,                   )
                                             )
       v.                                    )
                                             )
WALGREEN CO.,                                )
                                             )
               Defendant.                    )


                   COMPLAINT OF THE UNITED STATES OF AMERICA
                      AND THE COMMONWEALTH OF VIRGINIA

       The United States and the Commonwealth of Virginia (“the Commonwealth”)

(collectively, “the Government”) bring this action against Defendant Walgreen Co. (“Walgreens”

or “Defendant”) to recover treble damages and civil penalties under the False Claims Act (“FCA”),

31 U.S.C. §§ 3729-33, the Virginia Fraud Against Taxpayers Act (“VFATA”), VA. CODE ANN. §

8.01-216.1 et seq., the Virginia Medicaid Fraud Statute, VA. CODE ANN. § 32.1-312, and the

common law remedies of unjust enrichment, payment by mistake, and common law fraud for

engaging in a scheme from January 2015 to July 2016, to submit false claims for prescription drugs

used in the treatment of hepatitis C (the “Relevant Drugs”) to the Virginia Department of Medical

Assistance Services (“DMAS”), resulting in reimbursement totaling hundreds of thousands of

dollars to which Defendant was not entitled and, to which to date, Defendant has not returned.
Case 1:21-cv-00032-JPJ-PMS Document 1 Filed 06/22/21 Page 2 of 56 Pageid#: 2




                              I.      JURISDICTION AND VENUE

1.     This action is to redress violations of the FCA, 31 U.S.C. § 3729 et seq. The Court has

personal jurisdiction over Defendant pursuant to 31 U.S.C. § 3732(a), because Defendant transacts

business in this District, and because Defendant submitted or caused to be submitted claims for

payment to the United States and the Commonwealth for prescriptions filled in this District and it

received payments from the United States and the Commonwealth for those prescriptions.

2.     The Court has subject matter jurisdiction over this action pursuant to 28 U.S.C. §§ 1331

and 1345.

3.     This Court has jurisdiction over the Commonwealth’s state law claims pursuant to 31

U.S.C. § 3732(b), because the violations of state and federal law arise from the same transactions

or occurrences, as well as supplemental jurisdiction pursuant to 28 U.S.C. § 1367(a).

4.     Venue lies under 28 U.S.C. §§ 1391(b)-(c) and 1395(a), and 31 U.S.C. § 3732(a), because

the claims arose in the Western District of Virginia and Defendant transacts business in the same.

                                          II.     PARTIES

5.     The United States, acting through the Department of Health and Human Services (“HHS”),

administers grants to states for Medical Assistance Programs pursuant to Title XIX of the Social

Security Act, 42 U.S.C. §§ 1396 et seq. (2018) (“Medicaid”). The United States brings this civil

action on behalf of itself and HHS, an agency of the United States, pursuant to 31 U.S.C. § 3730(a).

6.     The Virginia Attorney General brings this action in the name of the Commonwealth for

damages resulting from false claims submitted or caused to be submitted to DMAS, 1 the agency

that administers the Virginia Medicaid Program.




1
 DMAS is the agency that administers the Virginia Medicaid Program for the Commonwealth.
For purposes of this Complaint, the term DMAS includes, and is interchangeable with, the
                                                 2
Case 1:21-cv-00032-JPJ-PMS Document 1 Filed 06/22/21 Page 3 of 56 Pageid#: 3




7.         Defendant Walgreens is a Delaware corporation with its principal place of business at 108

Wilmot Road, Deerfield, Illinois, 60015. 2 Walgreens owns and operates approximately 9,021

stores throughout the United States and is one of the world’s largest purchasers of prescription

drugs. 3

8.         Walgreens was a registered Virginia Medicaid provider during the relevant time period of

the conduct alleged herein. Specifically, the Walgreens Specialty Pharmacy located in the Holston

Valley Medical Center at 130 West Ravine Road, #101, Kingsport, Tennessee 37760 (“Walgreens

Store # 13980”) billed DMAS for services under National Provider Identification Number

1245542737.

            III.    APPLICABLE LAW AND THE VIRGINIA MEDICAID PROGRAM

9.         The Medicaid program is a jointly funded federal and state program that provides health

care coverage to eligible individuals. 42 U.S.C. § 1396a(a)(10)(A)(i).

10.        Before receiving any federal Medicaid funds, participating states must submit a “state plan

for medical assistance” to the Secretary of HHS, as required by Section 1902 of Title XIX of the

Social Security Act. 42 U.S.C. § 1396a. This plan describes how a state will administer its

Medicaid program and guarantees that the state will meet the applicable federal rules and

regulations related to Medicaid, a requirement for federal funding.

11.        The Commonwealth is a Medicaid participating state and Virginia law authorizes DMAS

to administer the Virginia Medicaid program. VA. CODE ANN. § 32.1-325. DMAS is the single

state agency designated by the General Assembly of Virginia, under the provision of Title XIX of



Virginia Medicaid Program and any contractors or Managed Care Organizations (“MCO”)
engaged by, or working on behalf of, DMAS or the Virginia Medicaid Program.
2
  Walgreens Co., Annual Report (Form 10-K) (October 15, 2020) available at
https://sec.report/Document/0001618921-20-000082.
3
  Id.
                                                    3
Case 1:21-cv-00032-JPJ-PMS Document 1 Filed 06/22/21 Page 4 of 56 Pageid#: 4




the Social Security Act, to administer the Medicaid Program on a statewide basis in accordance

with the requirements of 42 C.F.R. § 431.50. See 12 VA. ADMIN. CODE §§ 30-10-10 et seq.; id. at

30-10-30.

12.    DMAS provides Medicaid services through fee-for-service (“FFS”) and MCO programs.

13.    At all times relevant to this Complaint, DMAS contracted with Magellan Medicaid

Administration (“Magellan”) to administer its FFS claims.               Magellan had numerous

responsibilities, one of which was to determine whether patients who sought payment coverage

from DMAS for expensive prescription drugs satisfied DMAS’ coverage eligibility criteria.

DMAS directly reimburses the provider for services provided to FFS recipients.

14.    DMAS contracts with MCOs to deliver prescription drug and other services to eligible

Virginia Medicaid Program recipients. Providers of prescription drugs who are enrolled in

managed care plans receive payment from the MCOs directly. DMAS pays MCOs for each

enrolled Virginia Medicaid Program recipient on a capitated (a fixed monthly fee per recipient)

basis from Virginia Medicaid Program funds DMAS receives from the United States and the

Commonwealth. Each MCO then contracts with providers of prescription drugs and the MCO

pays for claims for prescription drugs from these providers with funds provided by DMAS

pursuant to each MCO’s contract with DMAS.

15.    At all times relevant to this Complaint, DMAS contracted with two MCOs to provide the

Relevant Drugs for the relevant Virginia Medicaid recipients: Virginia Premier Health Plan, Inc.

(“Virginia Premier”) and Aetna Better Health of Virginia (“Aetna”). 4




4
 In May 2013, Aetna completed its acquisition of Coventry Health Care, Inc., and contracted
with DMAS under the name CoventryCares. On April 1, 2016, Aetna changed its name from
CoventryCares to Aetna Better Health of Virginia.
                                               4
Case 1:21-cv-00032-JPJ-PMS Document 1 Filed 06/22/21 Page 5 of 56 Pageid#: 5




16.    With respect to the prior authorization approval process for certain prescription drugs,

during the Relevant Time Period, Virginia Premier contracted with a Pharmacy Benefits Manager

(“PBM”), EnvisionRX Options, to complete the initial collection and review of prior authorization

documentation. 5

17.    These MCOs determined whether patients who sought payment coverage from DMAS for

the Relevant Drugs satisfied DMAS’ coverage eligibility criteria.

18.    Commonwealth regulations do not distinguish between recipients who receive benefits

through the FFS program and the managed care program. Both FFS and managed care recipients

are Virginia Medicaid Program members and their benefits are paid through funds provided by the

United States and the Commonwealth through the Virginia Medicaid Program. Consequently,

payment for services comes from the Virginia Medicaid Program regardless of whether a provider

bills DMAS directly or submits claims through a contracted MCO.

                   A.    Virginia Medicaid Provider Enrollment Requirements

19.    A provider must execute a participation agreement with DMAS in order to enroll in the

Virginia Medicaid program. By executing a participation agreement, a provider agrees to adhere

to the policies and regulations contained in the DMAS Provider Manual(s) 6 pertaining to the

specific service(s) it will provide, including documentation requirements and rules for billing

DMAS. Moreover, a provider agrees to comply with all applicable state and federal laws,

including state and federal repayment statutes.




5
  EnvisionRX Options has since changed its name to Elixir Rx Solutions, LLC.
6
  Provider Manuals are official publications of DMAS and their contents are incorporated by
reference into participation agreements signed by providers enrolled in the Medicaid Program.
DMAS periodically revises and updates Provider Manuals.
                                                  5
Case 1:21-cv-00032-JPJ-PMS Document 1 Filed 06/22/21 Page 6 of 56 Pageid#: 6




20.     Walgreens Store # 13980 has been a Virginia Medicaid provider since approximately

2010. Walgreens Store # 13980 entered into a participation agreement with DMAS on or about

October 21, 2010. A copy is attached hereto as Exhibit 1.


      IV.   THE FALSE CLAIMS ACT, THE VIRGINIA FRAUD AGAINS TAXPAYERS
                  ACT, AND THE VIRGINIA MEDICAID FRAUD STATUTE

21.     The FCA, 31 U.S.C. §§ 3729 et seq., imposes liability on any person who “knowingly

presents, or causes to be presented, a false or fraudulent claim for payment or approval.” 31 U.S.C.

§ 3729(a)(1)(A). 7 The FCA also prohibits any person from “knowingly mak[ing], us[ing], or

caus[ing] to be made or used, a false record or statement material to a false or fraudulent claim.”

Id. at (a)(1)(B).

22.     Under the FCA, the term “knowing” is defined to include reckless disregard and deliberate

indifference to the truth or falsity of information. Id. § 3729(b)(1). The term “obligation,” under

the statute, includes the “retention of any overpayment.” Id. § 3729(b)(3).

23.     As amended by Section 6402(a) of the Patient Protection and Affordable Care Act of 2010

(Enhanced Medicare and Medicaid Provisions), Pub. L. No. 111-148, 124 Stat. 119, 753-56

(2010), an overpayment is defined as “any funds that a person receives or retains under subchapter

XVIII or XIX to which the person, after applicable reconciliation, is not entitled under such

subchapter.” 42 U.S.C. § 1320a-7k(d)(4)(B). The “overpayment must be reported and returned”

within “60 days after the date on which the overpayment was identified.” Id. § 1320a-7k(d)(2).

24.     Failure to return any overpayment constitutes a reverse false claim actionable under section

3729(a)(1)(G) of the FCA.




7
  Congress amended the FCA as a part of the Fraud Enforcement Recovery Act of 2009
(“FERA”) on May 20, 2009.
                                                 6
Case 1:21-cv-00032-JPJ-PMS Document 1 Filed 06/22/21 Page 7 of 56 Pageid#: 7




25.    The VFATA, VA. CODE ANN. §§ 8.01-216.1 et seq., is modeled after and closely mirrors

the language of the FCA. It was enacted on January 1, 2003. Similar to the FCA, the VFATA

broadly covers all types of fraud occurring on the Commonwealth, including fraud on the Virginia

Medicaid program. Like the FCA, the VFATA imposes civil liability on any person who

knowingly presents or causes to be presented, a false or fraudulent claim for payment or approval.

VA. CODE ANN. § 8.01-216.3(A) (2020). The VFATA prohibits a person from knowingly making,

using, or causing to be made or used, a false record or material statement, for payment or approval.

Id. at (A)(2) (2020). The VFATA also prohibits a person from knowingly making, using, or

causing to be made or used, a false record or statement material to an obligation to pay or transmit

money or property to the Commonwealth or knowingly concealing or knowingly and improperly

avoiding or decreasing an obligation to pay or transmit money or property to the Commonwealth.

Id. at (A)(8) (2020).

26.    Under the VFATA, the term “knowing” is defined to include reckless disregard and

deliberate indifference to the truth or falsity of information and requires no specific intent to

defraud. Id. § 8.01-216.3(C) (2020).

27.    Under both the FCA and the VFATA, a claim includes any request for money or payment

when the United States or the Commonwealth provides any portion of the funds or reimburses any

portion of the money that is requested. 31 U.S.C. § 3729(b)(2)(A) (2009); VA CODE ANN. § 8.01-

216.2 (2011).

28.    For FCA violations, the statute provides for treble damages and civil penalties. 31 U.S.C.

§ 3729(a)(1) (2009). Similarly, the VFATA provides for treble damages in addition to civil

penalties. VA. CODE ANN. § 8.01-216.3(A) (2020).




                                                 7
Case 1:21-cv-00032-JPJ-PMS Document 1 Filed 06/22/21 Page 8 of 56 Pageid#: 8




29.    The Virginia Medicaid Fraud Statute prohibits any person, agency, or institution from

using willful false statements, willful misrepresentations, willful concealment of material facts, or

any other fraudulent scheme or device to obtain or attempt to obtain any medical assistance

benefits or payments in a greater amount than that to which the person is entitled when the

Commonwealth directly or indirectly provides any medical assistance benefits or payments. VA.

CODE ANN. § 32.1-312 (2010).

30.    Any person, agency, or institution that violates this statute is liable to the Commonwealth

for the amount of any excess benefits or payments, plus interest and civil penalties, not to exceed

three times the amount of the excess benefits or payments. VA. CODE ANN. § 32.1-312(B) (2010).

                                 V.      FRAUDULENT SCHEME

31.    From at least as early as January 2015 until at least July 2016, Walgreens engaged in a

scheme to obtain health care benefit payments from the Virginia Medicaid Program to which it

was not entitled, by submitting or causing to be submitted false and/or fraudulent claims to DMAS

and by failing to take steps to repay overpayments after Walgreens identified these claims.

32.    Under Virginia law, DMAS has “the authority to require the submission of any other

medical documentation or information as may be required to complete a decision for … coverage

for services,” including “service authorization decisions performed by the DMAS staff or the

DMAS-designated service authorization contractor.” 12VAC30-120-1730(B).

33.    During certain time periods, as described below, DMAS required prior authorization (also

known as service authorization) before a patient could be prescribed certain prescription drugs.

The prior authorization process determined whether the patient satisfied the coverage eligibility

criteria to obtain the prescription drug. The prior authorization was required to be completed by

the prescribing practitioner on behalf of an individual patient. The prior authorization form (i)



                                                 8
Case 1:21-cv-00032-JPJ-PMS Document 1 Filed 06/22/21 Page 9 of 56 Pageid#: 9




provided the patient’s name, date of birth, and prescriber’s identifying information; (ii) answered

numerous and detailed questions about the patient’s medical history; and (iii) submitted medical

lab reports and drug test results supporting the answers to questions about the patient’s medical

history. DMAS maintains the submitted prior authorization forms.

34.    After receiving a prior authorization form, DMAS evaluated the answers and supporting

medical lab reports to determine if the referenced patient satisfied the eligibility criteria. If so,

DMAS notified the prescriber that coverage would be provided. If not, DMAS notified the

prescriber that coverage would not be provided and included a brief description of the basis for

denying coverage.

35.    DMAS did not require that prescribers complete and submit a prior authorization request

for all prescriptions; but, during the time periods described below, DMAS required prescribers to

complete and submit a prior authorization request for the Relevant Drugs used in the treatment of

hepatitis C: Sovaldi 400 MG tablets (NDC Number 61958150101), Harvoni 90MG-400MG tablets

(NDC Number 61958180101), and Daklinza 60 MG tablets (NDC Number 00003021501).

36.    Magellan, DMAS’ contractor for FFS recipients, required prior authorizations for

Medicaid FFS recipients as follows: (1) a prior authorization was required for Sovaldi 400MG

tablets as of July 1, 2014; (2) a prior authorization was required for Harvoni 90MG-400MG tablets

as of January 1, 2015; and (3) a prior authorization was required for Daklinza 60MG tablets as of

January 1, 2016.

37.    Aetna, one of the MCOs that contracted with DMAS to provide prescription drugs to

eligible Virginia Medicaid recipients, required prior authorizations as follows: (1) a prior

authorization was required for Sovaldi 400MG tablets as of December 7, 2013; (2) a prior




                                                 9
Case 1:21-cv-00032-JPJ-PMS Document 1 Filed 06/22/21 Page 10 of 56 Pageid#: 10




 authorization was required for Harvoni 90MG-400MG tablets as of October 10, 2014; and (3) a

 prior authorization was required for Daklinza 60MG tablets as of July 25, 2015.

 38.       Virginia Premier, the other MCO that contracted with DMAS to provide prescription drugs

 to eligible Virginia Medicaid recipients, required service authorizations as follows: (1) a prior

 authorization was required for Sovaldi 400MG tablets as of December 2013; a prior authorization

 was required for Harvoni 90MG-400MG tablets as of October 2014; and (3) a prior authorization

 was required for Daklinza 60MG tablets as of July 2015.

 39.       Absent approval of a prior authorization request, claims for the Relevant Drugs would be

 denied.

 40.       The Relevant Drugs were prescription drugs used to treat hepatitis C infections. These

 drugs were extremely expensive. For example, during the relevant time period, DMAS paid over

 $32,000 for a single 28-day supply of Harvoni 90MG-400MG tablets. Patients often required as

 many as two additional refill prescriptions to complete the full course of treatment.

 41.       DMAS specified that a Virginia Medicaid patient with hepatitis C would be eligible for

 payment coverage for the Relevant Drugs only if the patient satisfied certain medical eligibility

 criteria. The criteria were included on the prior authorization request form and, in general,

 included requirements related to disease severity and absence of use of illicit drugs and/or alcohol

 for a certain period of time. By means of example, attached hereto as Exhibit 2 is the prior

 authorization request form that Magellan used during the relevant time period, which sets forth the

 eligibility requirements for the Relevant Drugs.

 42.       In terms of disease severity, the eligibility criteria set forth required parameters for the

 patient’s fibrosis score (greater than or equal to 0.59), as well as the patient’s metavir stage, which




                                                    10
Case 1:21-cv-00032-JPJ-PMS Document 1 Filed 06/22/21 Page 11 of 56 Pageid#: 11




 is also called a fibrosis stage (F3 or greater). The recipient could also qualify if the prescriber

 documented cirrhosis in the patient.

 43.    The metavir scoring system and the fibrosis scoring system are used to assess fibrosis or

 scarring of the liver of patients with hepatitis C and other ailments.

 44.    With respect to the requirements related to drug and/or alcohol use, the eligibility criteria

 required that the patient had not used any illicit substance within the six months prior to obtaining

 the Relevant Drug. The prior authorization required the provider to submit evidence that the

 patient satisfied this criterion in the form of urine drug screen results or physician certification.

 45.    Beginning at least as early as January 2015 through at least July 2016, Walgreens

 knowingly presented, or caused to be presented, false claims for reimbursement to DMAS.

 Specifically, Walgreens knowingly created falsified records for use in submitting claims for

 payment to DMAS. Walgreens then submitted, or caused to be submitted, these false records for

 at least twelve (12) DMAS enrollees to obtain an authorization for payment for prescription drugs.

 As a result of the creation and submission of the false documents, DMAS approved prior

 authorization requests submitted or caused to be submitted by Walgreens and paid Walgreens at

 least $793,908.95 for the Relevant Drugs.

 46.    During all times relevant to the Complaint, Walgreens Store # 13980 utilized the following

 telephone numbers: (423) 224-6860 and (423) 765-8524.

 47.    During all times relevant to the Complaint, Walgreens Store # 13980 utilized the following

 fax number: (423) 224-5654.

 48.    At all times relevant to the false submissions, Amber Reilly (“Reilly”) was employed as a

 clinical pharmacy manager by Walgreens Store # 13980.

 49.    At all times relevant to this Complaint, Walgreens paid Reilly a base salary of



                                                   11
Case 1:21-cv-00032-JPJ-PMS Document 1 Filed 06/22/21 Page 12 of 56 Pageid#: 12




 approximately $136,000, and an annual bonus of up to $25,000.

 50.    Reilly’s employment with Walgreens was terminated in June 2016.

 51.    Many of the relevant Virginia Medicaid recipients were patients of Physician Group 1, a

 medical practice located in Kingsport, Tennessee.     In submitting documentation to DMAS, in

 some instances Reilly held herself out to be a “patient care advisor” with Physician Group 1. At

 all times relevant to this Complaint, Reilly was an employee of Walgreens and was not employed

 by Physician Group 1.

 52.    At all times relevant to this Complaint, Reilly was not authorized to sign the name of any

 employee of Physician Group 1 on any document submitted to DMAS.

 53.    Reilly reached out to a Nurse Practitioner at Physician Group 1 (“NP 1”) and proactively

 offered to complete the insurance paperwork for Physician Group 1’s hepatitis C patients if

 Physician Group 1 filled the prescriptions through Walgreens Store # 13980. NP 1 agreed to allow

 Reilly to fill out the insurance paperwork, but NP 1 did not give Reilly authority to sign NP 1’s

 name or write any appeal letters on NP 1’s behalf without NP 1 reviewing and approving the letter.

                          A. Walgreens’ Profit from the False Claims Submitted

 54.    Walgreens Store # 13980’s revenue for February 2015, when Walgreens was first paid by

 DMAS for a claim based on the submission of false prior authorizations and medical records, was

 $1,589,528. In May 2016, Walgreens Store # 13980 earned $5,098,765—an increase of more than

 320 percent in just over one year.




                                                12
Case 1:21-cv-00032-JPJ-PMS Document 1 Filed 06/22/21 Page 13 of 56 Pageid#: 13




 55.    This staggering revenue increase resulted from dramatic increases in revenues from

 payments by government payors, including DMAS, for hepatitis C drugs.

 56.    Walgreens, through or at the direction of Reilly, altered patients’ records and submitted

 false documents and claims to DMAS, to Walgreens’ financial benefit. In her performance review

 for the period September 1, 2014 through August 31, 2015 with her manager, Charles Wykes, Ms.

 Reilly stated, “I know what each payor requires for approval, [. . .] and I’ve became [sic] an expert

 in customizing appeal letters based on a plan’s criteria. This knowledge has been crucial in

 receiving approvals, which in return, has increased profits and strengthened relationships with

 providers.” Her manager commented “[Reilly] has not only created loyal customers, but has

 created very loyal Dr offices and case managers and has developed our site to have a reputation of

 one that will go the extra mile. She [. . .] must present in a way that gains trust because I have

 witnessed her detail one day and the next gain several referrals from the office.”

                         B. Walgreens’ Awareness of the Fraudulent Scheme

                                                  13
Case 1:21-cv-00032-JPJ-PMS Document 1 Filed 06/22/21 Page 14 of 56 Pageid#: 14




 57.     Walgreens became aware of Reilly’s fraud at least as early as June 2016 and was on notice

 that it had received payments based on false statements and documents submitted or caused to be

 submitted and that it had an obligation to reimburse DMAS for such overpayments.

 58.     On or about June 8, 2016 and June 14, 2016, the Tennessee Bureau of Investigation (“TBI”)

 served Walgreens with subpoenas seeking records related to prescriptions filled for certain

 patients.

 59.     On June 15, 2016, Walgreens’ loss prevention personnel went to Walgreens Store # 13980

 to investigate and recovered certain records that had been altered. The loss prevention personnel

 also spoke to an employee of Walgreens who worked at Reilly’s direction, and the employee

 admitted to falsifying several prior authorization records at Reilly’s direction. This discovery

 further put Walgreens on notice that it had obtained payments fraudulently and that it had an

 obligation to reimburse for fraudulently approved claims.

 60.     In October 2016, Reilly pleaded guilty to one count of healthcare fraud relating to falsifying

 documents submitted to government payors. Specifically, Reilly admitted that, in her role as a

 clinical pharmacy manager, she falsified (and directed at least one other employee to falsify) prior

 authorizations, medical lab reports, and drug test results so that otherwise unqualified hepatitis C

 patients would satisfy eligibility criteria. See Amber Reilly Plea Agreement, attached hereto as

 Exhibit 3.

 61.     A sentencing hearing for Reilly was held on January 30, 2017. That hearing was continued

 until June 26, 2017 while the judge took under advisement several objections filed by Reilly in

 advance of the January 30, 2017 hearing. On February 21, 2017, Judge James Ronnie Greer issued

 a Memorandum Opinion and Order regarding Reilly’s objections. See United States v. Amber

 Reilly, 2:16-CR-107 (E.D. Tenn.) Dkt. No. 24. In this opinion, Judge Greer found that “Walgreens



                                                  14
Case 1:21-cv-00032-JPJ-PMS Document 1 Filed 06/22/21 Page 15 of 56 Pageid#: 15




 had a set formula for how its employees were to receive bonuses. [Reilly’s] fraud likely increased

 her chances of receiving bonuses because it increased the total number of prescriptions filled and

 because it increased customer satisfaction. The customers were getting prescriptions filled that

 they were not entitled to under TennCare. 8 Both of these are factors included in Walgreens’

 formula for bonuses.” Memo. Op. and Order at *4.

 62.     During the June 2017 sentencing hearing, Judge Greer again recognized that “promotions

 at work or increased salary or those sorts of things, bonuses” were a motivation for Reilly’s actions.

 Reilly Sent. Tr. 44:19-21, June 26, 2017. He further stated that, “what [Reilly] might gain through

 a promotion at work for [her]self” was a motivation. Id. at 35:7-9.

 63.     Judge Greer further noted that “Walgreens may be required to reimburse the state” related

 to Reilly’s submission of false claims. Id. at 44:22-23.

 64.     More than four and a half years have passed since Reilly’s guilty plea for falsifying records

 and submitting false claims, yet Walgreens has made no attempt to refund the payments to DMAS

 as required by DMAS’ Pharmacy Manual, which requires providers to “refund payments made by

 Medicaid if they are found to have billed Medicaid contrary to law or regulation, failed to maintain

 any record or adequate documentation to support their claims, or billed for medically unnecessary

 services.” 9

                                  C. The Virginia Medicaid Recipients

 65.     Walgreens submitted or caused to be submitted false statements to DMAS for no fewer

 than twelve (12) Virginia Medicaid recipients, resulting in the Virginia Medicaid program paying




 8
  TennCare is the name of the Medicaid program for the State of Tennessee.
 9
  DMAS Pharmacy Policy Manual, Chapter VI at p. 2 (last updated Dec. 16, 2015), available at
 https://www.ecm.virginiamedicaid.dmas.virginia.gov/WorkplaceXT/getContent?impersonate=true&id={B6B7A273
 -E65D-4CA0-AFF5-0581CCPatient 2ED22}&vsId={997BD5C1-A834-45EF-8B10-
 269B0F18DA94}&objectType=document&objectStoreName=VAPRODOS1.

                                                   15
Case 1:21-cv-00032-JPJ-PMS Document 1 Filed 06/22/21 Page 16 of 56 Pageid#: 16




 Walgreens at least $793,908.95 for prescriptions drugs that the recipients were not qualified to

 receive.

         Patient 1

 66.     Patient 1 was a Virginia Medicaid recipient who received Sovaldi 400 MG tablets on May

 4, 2016, May 26, 2016, and June 30, 2016. Because Patient 1 was a FFS recipient, a prior

 authorization was required to be submitted to Magellan prior to the prescriptions being reimbursed

 from government funds.

 67.     At all times relevant to this Complaint, Patient 1 was treated for hepatitis C by MD 1, a

 physician with Physician Group 1.

 68.     On April 25, 2016, MD 1 completed or caused to be completed Walgreens’

 Prescription/Pharmacy intake form for Patient 1. A copy of that Prescription/Pharmacy Intake

 Form is attached hereto as Exhibit 4. 10

 69.     On April 26, 2016, Walgreens responded and informed Physician Group 1 that “we

 [Walgreens] will work on [Patient 1’s] prior authorization.”

 70.     Also on April 26, 2016, Walgreens submitted or caused to be submitted a prior

 authorization request to DMAS on behalf of Patient 1 for Sovaldi 400 MG tablets. The prior

 authorization form is attached hereto as Exhibit 5. The prior authorization form attests that Patient

 1’s fibrosis score is greater than or equal to 0.59.

 71.     The prior authorization request form purports to be signed by MD 1. However, this

 signature does not match MD 1’s signature on the Prescription/Pharmacy intake form and MD 1

 has confirmed that they did not sign the prior authorization form.


 10
   In order to protect the personal health information of the Virginia Medicaid recipients involved the Walgreens’
 false submissions, the Complaint does not include as exhibits all of the documents referenced in the Complaint.
 However, the documents relevant to the false claims submitted or caused to be submitted by Walgreens for Patient 1
 are included in redacted form in order to provide an illustrative example of the fraud.

                                                        16
Case 1:21-cv-00032-JPJ-PMS Document 1 Filed 06/22/21 Page 17 of 56 Pageid#: 17




 72.    On April 27, 2016 and April 28, 2016, DMAS responded to the prior authorization request

 and stated that additional information was required to substantiate Patient 1’s disease severity, as

 well as her abstention from alcohol and illicit drugs for the required time period.

 73.    In response to DMAS’ request for additional supporting evidence, Walgreens submitted or

 caused to be submitted to DMAS a false report for lab work completed at Solstas Labs with a

 collection date of March 3, 2016. In the report, the fibrosis score is smudged and a handwritten

 fibrosis score of 0.62 is added. The lab report also lists Patient 1’s fibrosis stage as F3. The

 “Notes” section of the report, states: “fibrosis.” The false lab report, as maintained by DMAS, is

 attached hereto as Exhibit 6.

 74.    As of at least August 3, 2016, Walgreens had in its possession the actual lab report for

 Patient 1 from March 3, 2016, in which the fibrosis score is 0.42 and the fibrosis stage is F1-F2.

 The “Notes” section of the report states: “minimal fibrosis.” The actual lab report, as maintained

 by Walgreens, is attached hereto as Exhibit 7. The actual lab report, as maintained by Solstas

 Labs, is attached hereto as Exhibit 8.

 75.    As of August 2016, Walgreens had collected accurate records for Patient 1 from Physician

 Group 1. The collected records did not contain any lab reports or test results evidencing disease

 severity that would satisfy the requirements necessary to obtain prior authorization for Sovaldi.

 76.    Based on records in Walgreens’ possession as of August 2016, Walgreens was aware or

 should have been aware that the lab report evidencing disease severity that Walgreens submitted

 or caused to be submitted to DMAS was not included in the patient records for Patient 1 maintained

 by Physician Group 1.

 77.    On May 4, 2016, relying on the false claims submitted or caused to be submitted by

 Walgreens, DMAS approved the prior authorization request for Patient 1.



                                                  17
Case 1:21-cv-00032-JPJ-PMS Document 1 Filed 06/22/21 Page 18 of 56 Pageid#: 18




 78.    The false information on Patient 1’s fibrosis score on the prior authorization request was a

 material false statement, as was the forged fibrosis score, the forged fibrosis stage, and the

 alteration of the Note from “minimal fibrosis” to “fibrosis” on the lab report discussed above.

 79.    The claims would not have been paid absent the submission of these material false

 statements.

 80.    Virginia Medicaid paid Walgreens a total of $87,593.70 for Sovaldi 400 MG tablets for

 Patient 1. To date, Walgreens has not repaid Virginia Medicaid for any amount of this false claim.

        Patient 2

 81.    Patient 2 was a Virginia Medicaid recipient who received Daklinza 60 MG tablets on

 February 9, 2016, March 10, 2016, and April 6, 2016. Patient 2 also received Sovaldi 400 MG

 tablets on February 9, 2016. A prior authorization was required to be submitted to Magellan for

 the February 9, 2016 Sovaldi 400 MG tablet claim and Daklinza 60 MG tablet claim. A prior

 authorization was required to be submitted to Virginia Premier for the March 10, 2016 and April

 6, 2016 Daklinza 60 MG tablets claims prior to the prescriptions being reimbursed from

 government funds.

 82.    At all times relevant to this Complaint, Patient 2 was treated for hepatitis C by MD 2 at

 Physician Group 1.

 83.    On February 2, 2016, MD 2 completed or caused to be completed Walgreens’

 Prescription/Pharmacy intake form for Patient 2.

 84.    On February 5, 2016, Walgreens submitted or caused to be submitted a prior authorization

 request to DMAS on behalf of Patient 2 for Daklinza 60 MG tablets and Sovaldi 400 MG tablets.

 The prior authorization request attests that Patient 2 has a metavir score of F3-F4 and a fibrosis

 score of greater than or equal to 0.59.



                                                 18
Case 1:21-cv-00032-JPJ-PMS Document 1 Filed 06/22/21 Page 19 of 56 Pageid#: 19




 85.    The prior authorization contains a handwritten note stating: “patient started on

 Peg/Ribavirin in 2011 [and] had to stop due to reaction to Ribavirn.” MD 2 did not write this note,

 nor did they instruct or allow Walgreens to include this information on the prior authorization

 request.

 86.    The prior authorization form is purported to be signed by MD 2. However, this signature

 does not match MD 2’s signature on the Prescription/Pharmacy intake form and MD 2 has

 confirmed that they did not sign the prior authorization form.

 87.    On February 8, 2016, DMAS responded to the prior authorization request and stated that

 additional information was required to substantiate Patient 2’s disease severity, as well as her

 abstention from alcohol and illicit drugs for the previous six months.

 88.    In response to the request for additional information, Walgreens submitted or caused to be

 submitted to DMAS a lab report that purported to be from Takoma Medical Associates with a

 collection date of January 27, 2016.

 89.    The name, gender, date of birth, and treating provider on the Takoma Medical Associates’

 lab report were falsified. Patient 2’s patient information was substituted onto the report of another,

 unknown individual. The altered report included a handwritten fibrosis score of 0.68 and a

 handwritten metavir score of F3.

 90.    Based on DMAS’ billing records, Patient 2 was never treated at Takoma Medical

 Associates.

 91.    Patient 2’s patient file maintained by Physician Group 1 does not contain any record of any

 lab work being done for Patient 2 at Takoma Medical Associates.

 92.    Walgreens also submitted or caused to be submitted to DMAS an additional report

 purportedly from Solstas Labs dated January 21, 2016 to support the prior authorization request.



                                                  19
Case 1:21-cv-00032-JPJ-PMS Document 1 Filed 06/22/21 Page 20 of 56 Pageid#: 20




 This report was altered to add Patient 2’s name and date of birth to the bottom of a Hepatitis Acute

 Panel results report for a different, unknown individual.

 93.      Based on DMAS’ billing records, Solstas Labs did not bill DMAS for performing any lab

 test for Patient 2 in January 2016.

 94.      A subpoena to Solstas Labs further confirmed that Solstas Labs did not perform any lab

 work on Patient 2 in January 2016. Solstas Labs did perform a Hepatitis Acute Panel for Patient

 2 in August 2015 and the results were not consistent with the January 21, 2016 report discussed

 above.

 95.      Additionally, Walgreens submitted or caused to be submitted the results of a CT Abdomen

 Without and With Contrast dated December 2015. This report contains no information to identify

 the individual for which the testing was done, nor does it contain any information on the facility

 at which the procedure was performed, except the name of the physician that signed the report.

 The findings section of the report states that the liver is “markedly cirrhotic in appearance” and

 the impressions section of the report states that there are “significantly cirrhotic changes of the

 liver noted.” This is a report for another, unknown individual and not for Patient 2.

 96.      Based on DMAS’ billing records, DMAS has never been billed by any entity for

 performing a CT Abdomen on Patient 2 in December 2015.

 97.      Patient 2’s patient file maintained by Physician Group 1 does not contain any record of a

 CT Abdomen procedure.

 98.      On February 9, 2016, relying on the false claims submitted or caused to be submitted by

 Walgreens, DMAS approved the prior authorizations for Patient 2. On the same day, Walgreens

 informed Physician Group 1 that the prior authorizations had been approved.




                                                 20
Case 1:21-cv-00032-JPJ-PMS Document 1 Filed 06/22/21 Page 21 of 56 Pageid#: 21




 99.    The false information on Patient 2’s fibrosis score and metavir score on the prior

 authorization request were material false statements, as were the alterations on the lab reports

 described above.

 100.   The claims would not have been paid absent the submission of these material false

 statements.

 101.   Virginia Medicaid paid Walgreens a total of $93,865.60 for Daklinza 60MG tablets and

 Sovaldi 400 MG tablets for Patient 2. To date, Walgreens has not repaid Virginia Medicaid for

 any amount of this false claim.

        Patient 3

 102.   Patient 3 was a Virginia Medicaid recipient who received Harvoni 90MG-400MG tablets

 on June 11, 2015 and July 9, 2015. Because Patient 3’s coverage was provided through Virginia

 Premier, a prior authorization was required to be submitted to Virginia Premier prior to the

 prescriptions being reimbursed from government funds.

 103.   At all times relevant to this Complaint, Patient 3 was a treated for hepatitis C by NP 1,

 who, at the time, was a nurse practitioner at Physician Group 1.

 104.   On May 13, 2015, NP 1 completed or caused to be completed Walgreens’

 Prescription/Pharmacy intake form for Patient 3.

 105.   On May 18, 2015, Walgreens submitted or caused to be submitted a prior authorization

 request to DMAS on behalf of Patient 3 for Harvoni 90MG-400MG tablets. The request attested

 that Patient 3 had a Metavir score of F3 and had abstained from the use of alcohol and illicit drugs

 for the required time period.




                                                 21
Case 1:21-cv-00032-JPJ-PMS Document 1 Filed 06/22/21 Page 22 of 56 Pageid#: 22




 106.    The prior authorization form is purported to be signed by NP 1. However, this signature

 does not match NP 1’s signature on the Prescription/Pharmacy intake form and NP 1 has confirmed

 that they did not sign the prior authorization form.

 107.    On May 19, 2015, Virginia Premier denied the prior authorization request because the

 request did not meet the requirements regarding evidence of negative urine drug screens. The

 denial is addressed to NP 1, but the fax number and phone number on the notice of denial were for

 Walgreens Store # 13890.

 108.    After the prior authorization was denied, Walgreens submitted or caused to be submitted

 an appeal letter to Virginia Premier on behalf of Patient 3. The letter identified the author as a

 “patient care advisor” to NP 1 and stated that Patient 3 had a metavir score of F3 and had abstained

 from the use of illicit drugs and alcohol, as shown in the attached urine drug screen reports. The

 letter was not written by NP 1 and NP 1 did not authorize any other individual to write and/or

 submit this letter.

 109.    In filing his appeal of Virginia Premier’s denial, Patient 3 identified Reilly as his “case

 manager” and attested that Reilly was the individual who informed him of the denial.

 110.    In support of the appeal, Walgreens submitted or caused to be submitted to DMAS a urine

 drug screen report purportedly conducted at Takoma Regional Hospital for Patient 3 with a

 collection date of April 30, 2015. The report purportedly evidenced that Patient 3 received a

 negative result for all drugs included in the test.

 111.    The April 30, 2015 lab report submitted or caused to be submitted by Walgreens was

 falsified. Walgreens substituted Patient 3’s name on the report for another, unknown individual.

 This can be seen in the fact that the font for the patient name is not consistent with the font in the

 remainder of the form.



                                                   22
Case 1:21-cv-00032-JPJ-PMS Document 1 Filed 06/22/21 Page 23 of 56 Pageid#: 23




 112.    Based on DMAS’ billing records, Takoma Regional Hospital never billed DMAS for

 performing lab work on Patient 3 during the April 2015 to May 2015 time period.

 113.    Patient 3’s patient file maintained by Physician Group 1 does not contain any record of any

 lab work being done at Takoma Regional Hospital.

 114.    Also in support of the appeal, Walgreens submitted or caused to be submitted a falsified

 lab report for Patient 3 with a collection date in December 2014 showing a fibrosis score of 0.74

 and fibrosis stage of F3 – F4. In the falsified report, Patient 3’s name is substituted over the name

 of another, unknown individual, as evidenced by the fact that while the report is blurred and

 partially illegible, the patient name is clear and in a font that is not consistent with the font on the

 remainder of the report.

 115.    Based on DMAS’ billing records, no entity billed DMAS for any lab work for Patient 3

 during the December 2014 time period.

 116.    Patient 3’s patient file maintained by Physician Group 1 does not contain the falsified lab

 report from December 2014.

 117.    On June 10, 2015, relying on the falsified documentation submitted or caused to be

 submitted by Walgreens, DMAS approved the prior authorization request for Patient 3.

 118.    The false information on Patient 3’s Metavir score on the prior authorization request was

 a material false statement, as were the false urine drug screen, false fibrosis score, and false fibrosis

 stage on the lab reports discussed above.

 119.    As of August 2016, Walgreens had collected accurate records for Patient 3 from Physician

 Group 1. The collected records did not contain any lab reports or test results evidencing disease

 severity that would satisfy the requirements necessary to obtain prior authorization for Harvoni.




                                                    23
Case 1:21-cv-00032-JPJ-PMS Document 1 Filed 06/22/21 Page 24 of 56 Pageid#: 24




 120.     Based on records in Walgreens’ possession as of August 2016, Walgreens was aware that

 the lab reports evidencing disease severity that Walgreens submitted or caused to be submitted to

 DMAS were not included in the patient records for Patient 3 maintained by Physician Group 1.

 121.     Walgreens is in possession of all prior authorization submission and appeals

 documentation, including the falsified lab reports referenced above.

 122.     The claims would not have been paid absent the submission of these material false

 statements.

 123.     Virginia Medicaid paid Walgreens a total of $64,149.10 for Harvoni 90MG-400MG tablets

 for Patient 3. To date, Walgreens has not repaid Virginia Medicaid for any amount of this false

 claim.

          Patient 4

 124.     Patient 4 was a Virginia Medicaid recipient who received Harvoni 90MG-400MG tablets

 on July 17, 2015. Because Patient 4 was a FFS recipient, a prior authorization was required to be

 submitted to Magellan prior to the prescription being reimbursed from government funds.

 125.     At all times relevant to this Complaint, Patient 4 was treated for hepatitis C by MD 2 at

 Physician Group 1.

 126.     In   July 2015, MD 2 completed            or caused to be completed Walgreens’

 Prescription/Pharmacy intake form for Patient 4.

 127.     On July 14, 2015, Walgreens submitted or caused to be submitted a prior authorization

 request to DMAS on behalf of Patient 4 for Harvoni 90MG-400MG tablets.                 The prior

 authorization request attested that Patient 4 had a metavir score of F3-F4 and a fibrosis score of

 greater than or equal to 0.59.




                                                 24
Case 1:21-cv-00032-JPJ-PMS Document 1 Filed 06/22/21 Page 25 of 56 Pageid#: 25




 128.   The prior authorization form is purported to be signed by MD 2. However, this signature

 does not match MD 2’s signature on the Prescription/Pharmacy intake form and MD 2 has

 confirmed that they did not sign the prior authorization form.

 129.   In support of the prior authorization request, Walgreens submitted or caused to be

 submitted a lab report purportedly from Quest Diagnostics with a collection date of June 2, 2015.

 The testing was purportedly performed at Takoma Medical Associates. The report evidences

 Patient 4’s fibrosis score as 0.61 and metavir score as F3. This report was falsified. Patient 4’s

 name was substituted onto the lab report for a different, unknown individual.

 130.   Based on DMAS’ billing records, neither Takoma Medical Associates nor Quest

 Diagnostics billed DMAS for lab testing for Patient 4 in June 2015.

 131.   Patient 4’s patient file maintained by Physician Group 1 does not contain any record of any

 lab work being done at Takoma Medical Associates.

 132.   On July 15, 2015, DMAS requested additional evidence that Patient 4 had abstained from

 the use of alcohol and illicit drugs during the relevant time period.

 133.   In response, Walgreens submitted or caused to be submitted the results of a urine drug

 screen with a collection date of April 27, 2015, showing no detection for all substances tested.

 This report does not include information on the company that collected and analyzed the sample.

 Patient 4’s name and date of birth were substituted on the top of a lab report for a different,

 unknown individual.

 134.   Based on DMAS’ billing records, no entity billed DMAS for a urine drug screen for Patient

 4 performed in April or May 2015.

 135.   Patient 4’s file maintained by Physician Group 1 does not include this urine drug screen.




                                                  25
Case 1:21-cv-00032-JPJ-PMS Document 1 Filed 06/22/21 Page 26 of 56 Pageid#: 26




 136.     Additionally, Walgreens falsely claimed in a handwritten response to DMAS’ request for

 additional information that Patient 4 required an exception due to a documented allergy to

 Ribavirin. MD 2 did not write this note, nor did they instruct or allow Walgreens to include this

 information in the submission to DMAS.

 137.     Patient 4’s file from Physician Group 1 indicates an allergy to Phenergan, but does not

 document an allergy to Ribavirin.

 138.     On July 16, 2015, relying on the falsified lab reports and statements, DMAS approved the

 prior authorization request for Patient 4. On July 17, 2015, Walgreens communicated the approval

 to Physician Group 1.

 139.     The false information on Patient 4’s fibrosis score and metavir score on the prior

 authorization request was a material false statement, as were the forged fibrosis score, metavir

 score, urine drug screen, and allergy information on the lab reports and submissions discussed

 above.

 140.     The claims would not have been paid absent the submission of these material false

 statements.

 141.     Virginia Medicaid paid Walgreens a total of $32,848.95 for Harvoni 90MG-400MG tablets

 for Patient 4. To date, Walgreens has not repaid Virginia Medicaid for any amount of this false

 claim.

          Patient 5

 142.     Patient 5 was a Virginia Medicaid recipient who received Sovaldi 400MG tablets on July

 6, 2015. Because Patient 5 was a FFS recipient, a prior authorization was required to be submitted

 to Magellan prior to the prescription being reimbursed from government funds.




                                                 26
Case 1:21-cv-00032-JPJ-PMS Document 1 Filed 06/22/21 Page 27 of 56 Pageid#: 27




 143.   At all times relevant to this Complaint, Patient 5 was treated for hepatitis C by NP 1 at

 Physician Group 1.

 144.   On April 24, 2015, NP 1 completed or caused to be completed Walgreens’

 Prescription/Pharmacy intake form.

 145.   On July 1, 2015, Walgreens submitted or caused to be submitted a prior authorization

 request to DMAS on behalf of Patient 5 for Sovaldi 400MG tablets.

 146.   The prior authorization request attested that Patient 5 had a fibrosis score of greater than

 or equal to 0.59 and had abstained from the use of alcohol and illicit drugs for the required time

 period. Under “Prescriber Information,” the prior authorization lists NP 1 as the name of the

 prescriber, but the phone number listed is the phone number for Walgreens Store # 13980.

 147.   The prior authorization form is purported to be signed by NP 1. However, this signature

 does not match NP 1’s signature on the Prescription/Pharmacy intake form and NP 1 has confirmed

 that they did not sign the prior authorization form.

 148.   Magellan initially did not approve the prior authorization and requested additional

 materials, noting that the lab report supporting the fibrosis score was illegible and no urine drug

 screen had been submitted.

 149.   In response, Walgreens submitted or caused to be submitted documentation to DMAS

 containing a handwritten note stating: “I attest patient is not actively abusing EtOH [alcohol]

 and/or drugs.” NP 1 did not write this note or sign this document, nor did they instruct or allow

 Walgreens to include this information in the submission to Magellan.

 150.   In response to the request for additional information, Walgreens also submitted or caused

 to be submitted a lab report with a collection date of December 16, 2014 purportedly showing

 results of Patient 5’s lab tests at Takoma Medical Associates. The lab report evidences a fibrosis



                                                  27
Case 1:21-cv-00032-JPJ-PMS Document 1 Filed 06/22/21 Page 28 of 56 Pageid#: 28




 score of 0.59 and a fibrosis stage of F3. This report was falsified with Patient 5’s name substituted

 on a report for a different, unknown individual. A report from Synergy Laboratories for lab testing

 conducted on Patient 5 in August 2015 evidences a fibrosis score of 0.16 and a metavir score of

 F1.

 151.   Based on DMAS’ billing records, Takoma Medical Associates did not bill DMAS for

 services for Patient 5 in December 2014.

 152.   Patient 5’s patient file maintained by Physician Group 1 does not contain any record of any

 lab work being done at Takoma Medical Associates.

 153.   Additionally, Walgreens submitted or caused to be submitted a lab report purporting to be

 results from Patient 5’s urine drug screen performed at Takoma Regional Hospital with a collection

 date of June 2, 2015, showing negative results for all tested drugs. On this report, Patient 5’s name

 is substituted onto a lab report for another, unknown individual and the result for the screening for

 cannabis is changed to “negative.” On this report, the font for the “negative” result for the cannabis

 screening is different from the font for the remainder of the report.

 154.   Based on DMAS’ billing records, Takoma Regional Hospital did not bill DMAS for any

 lab any services for Patient 5 in June 2015.

 155.   Patient 5’s patient file maintained by Physician Group 1 does not contain any record of any

 lab work being done for Patient 5 at Takoma Regional Hospital.

 156.   Patient 5’s patient file maintained by Physician Group 1 does not contain any record of any

 urine drug screen having been conducted for Patient 5.

 157.   On July 6, 2015, relying on the false submissions submitted or caused to be submitted by

 Walgreens, DMAS approved the prior authorization request for Patient 5.




                                                  28
Case 1:21-cv-00032-JPJ-PMS Document 1 Filed 06/22/21 Page 29 of 56 Pageid#: 29




 158.   The false information on Patient 5’s fibrosis score on the prior authorization request was a

 material false statement, as were the forged note and lab results regarding illicit drug usage and

 the forged fibrosis score and fibrosis stage on the lab reports discussed above.

 159.   The claim would not have been paid absent the submission of these material false

 statements.

 160.   Virginia Medicaid paid Walgreens a total of $29,199.15 for Sovaldi 400MG tablets for

 Patient 5. To date, Walgreens has not repaid Virginia Medicaid for any amount of this false claim.

        Patient 6

 161.   Patient 6 was a Virginia Medicaid recipient who received Harvoni 90MG-400MG tablets

 on April 14, 2016, May 10, 2016, and June 5, 2016. Because Patient 6’s coverage was provided

 through Virginia Premier, a prior authorization was required to be submitted to Virginia Premier

 prior to the prescriptions being reimbursed from government funds.

 162.   At all times relevant to this Complaint, Patient 6 was treated for hepatitis C by MD 4 at

 Physician Group 2.

 163.   On April 5, 2016, MD 4 completed Walgreens’ Prescription/Pharmacy intake form for

 Patient 6.

 164.   On April 11, 2016, Walgreens submitted or caused to be submitted a prior authorization

 request to DMAS on behalf of Patient 6 for Harvoni 90MG-400MG tablets.                  The prior

 authorization form attested that Patient 6 had a Metavir score of F3.

 165.   The prior authorization form is purported to be signed by MD 4. However, this signature

 does not match MD 4’s signature on the Prescription/Pharmacy intake form and MD 4 has

 confirmed that they did not sign the prior authorization form.




                                                 29
Case 1:21-cv-00032-JPJ-PMS Document 1 Filed 06/22/21 Page 30 of 56 Pageid#: 30




 166.   In support of this prior authorization request, Walgreens submitted or caused to be

 submitted a surgical pathology report from Highlands Pathology Consultants, P.C. that is dated

 March 4, 2016. That report was falsified. The findings of the falsified report state: “Findings

 compatible with chronic hepatitis C with minimal portal inflammation (grade 0-1) and rare,

 equivocal portal fibrosis (stage 3)” (emphasis added).

 167.   The actual March 4, 2016 lab report from Highlands Pathology Consultants, P.C. states:

 “Findings compatible with chronic hepatitis C with minimal portal inflammation (grade 0-1) and

 rare, equivocal portal fibrosis (stage 0-1)” (emphasis added).

 168.   Prior to April 2016, Patient 6’s treating providers were skeptical that Patient 6 would

 qualify for Harvoni treatments because her disease progression was not severe enough. At an

 office visit on September 4, 2015, the treating provider noted: “I am somewhat suspicious that

 [Patient 6] will not qualify for hepatitis C treatment at this point in time and we may have to wait

 a year or 2.”

 169.   On March 14, 2016, less than a month before the prior authorization was approved, Patient

 6’s treating provider noted: “biopsy shows mild inflammation and mild fibrosis” (emphasis

 added). The provider further states: “Patient does have hepatitis C although there is no significant

 damage at present” (emphasis added).

 170.   On April 14, 2016, relying on the false lab report submitted or caused to be submitted by

 Walgreens, DMAS approved the prior authorization request for Patient 6.

 171.   The false information on Patient 6’s Metavir score on the prior authorization request was

 a material false statement, as was the false statement about the equivocal portal fibrosis stage on

 the lab report discussed above.

 172.   The claims would not have been paid absent the submission of this material false statement.



                                                 30
Case 1:21-cv-00032-JPJ-PMS Document 1 Filed 06/22/21 Page 31 of 56 Pageid#: 31




 173.     On August 15, 2016, Walgreens contacted Physician Group 2 and stated that it “need[ed]

 the pre treatment labs [for Patient 6] faxed to [sic] 423-224-5654.” On that same day, Physician

 Group 2 printed the labs and sent them to Walgreens. As of August 2016, Walgreens had in its

 possession both the falsified medical records and the accurate medical records for Patient 6.

 174.     Based on the accurate records in Walgreens’ possession, Walgreens was aware that Patient

 6 did not meet the minimum criteria for coverage and the claim would have been denied if accurate

 labs had been submitted.

 175.     Virginia Medicaid paid Walgreens a total of $96,223.65 for Harvoni 90MG-400MG tablets

 for Patient 6. To date, Walgreens has not repaid Virginia Medicaid for any amount of this false

 claim.

          Patient 7
 176.     Patient 7 was a Virginia Medicaid recipient who received Harvoni 90MG-400MG tablets

 on April 24, 2015 and May 22, 2015. Because Patient 7’s coverage was provided through Virginia

 Premier, a prior authorization was required to be submitted to Virginia Premier prior to the

 prescription being reimbursed from government funds.

 177.     At all times relevant to this Complaint, Patient 7 was treated for hepatitis C by NP 1 at

 Physician Group 1.

 178.     On April 17, 2015, NP 1 completed or caused to be completed Walgreens’

 Prescription/Pharmacy intake form for Patient 7.

 179.     On April 21, 2015, Walgreens submitted or caused to be submitted a prior authorization

 request to EnvisionRX Options on behalf of Patient 7 for Harvoni 90MG-400MG tablets.

 180.     The prior authorization form is purported to be signed by NP 1. However, this signature

 does not match NP 1’s signature on the Prescription/Pharmacy intake form and NP 1 has confirmed

 that they did not sign the prior authorization form.

                                                  31
Case 1:21-cv-00032-JPJ-PMS Document 1 Filed 06/22/21 Page 32 of 56 Pageid#: 32




 181.   The prior authorization request contains a handwritten note that states: “Patient has a

 history of depression and isn’t a candidate for Sovaldi/Ribavirin/Peg therapy due to previous

 suicide attempt.” NP 1 did not write this note, nor did they instruct or allow Walgreens to include

 this information on the prior authorization request.

 182.   In Patient 7’s patient file maintained by Physician Group 1, there is a note for Patient 7’s

 appointment on March 18, 2015 that states that Patient 7 denies “depression, suicidal thoughts.”

 The report from Patient 7’s July 6, 2015 appointment at Physician Group 1 also indicated that she

 denied having depression or suicidal thoughts.

 183.   In support of the prior authorization request, Walgreens submitted or caused to be

 submitted a lab report for a urine drug screen with a collection date of March 18, 2015 and

 Specimen Number of N507758497. This reports purports to be for testing performed by Quest

 Diagnostics. The lab report evidences negative results for all illicit substances included in the test.

 184.   This lab report was falsified. The header, containing Patient 7’s name and other identifying

 information, is taken from a different lab report from Solstas Labs for Patient 7 for lab work not

 related to urine drug screen analysis. The Solstas Labs header was substituted onto the results for

 a different, unknown individual who received urine drug screen testing at Quest Diagnostics.

 185.   Quest Diagnostics has confirmed that it has no record of performing any testing with

 Specimen Number N507758497.

 186.   Also in support of the prior authorization request for Patient 7, Walgreens submitted or

 caused to be submitted a falsified lab report that purports to be the results of lab work conducted

 on March 25, 2015 at Takoma Medical Associates. The report contains a handwritten note that

 the fibrosis score is 0.67 and the stage is F3.




                                                   32
Case 1:21-cv-00032-JPJ-PMS Document 1 Filed 06/22/21 Page 33 of 56 Pageid#: 33




 187.     Based on DMAS’ billing records, Takoma Medical Associates never billed DMAS for

 treatment of Patient 7.

 188.     Patient 7’s patient file maintained by Physician Group 1 does not contain any record of any

 lab work being done for Patient 7 at Takoma Medical Associates.

 189.     On April 23, 2015, relying on the false submissions submitted or caused to be submitted

 by Walgreens, DMAS approved the prior authorization request for Patient 7.

 190.     The false information regarding Patient 7’s history of depression on the prior authorization

 request was a material false statement, as were the falsified urine drug screen, fibrosis score, and

 fibrosis stage on the lab reports discussed above.

 191.     On August 3, 2016, a representative from Walgreens Store # 13890 emailed an employee

 at Physician Group 1 and requested that Physician Group 1 transmit to Walgreens documentation

 of a liver biopsy or fibrosis score for Patient 7. Thus, as of at least as early as August 2016,

 Walgreens was aware that Patient 7 was a Virginia Medicaid recipient whose prescription for

 Harvoni was handled by Walgreens # 13890 and was attempting to seek accurate medical records

 for Patient 7.

 192.     The claims would not have been paid absent the submission of these material false

 statements.

 193.     Virginia Medicaid paid Walgreens a total of $64,149.10 for Harvoni 90MG-400MG tablets

 for Patient 7. To date, Walgreens has not repaid Virginia Medicaid for any amount of this false

 claim.

          Patient 8

 194.     Patient 8 was a Virginia Medicaid recipient who received Harvoni 90MG-400MG tablets

 on May 19, 2016, June 13, 2016, and July 14, 2016. Because Patient 8’s coverage was provided



                                                  33
Case 1:21-cv-00032-JPJ-PMS Document 1 Filed 06/22/21 Page 34 of 56 Pageid#: 34




 through Virginia Premier, a prior authorization was required to be submitted to Virginia Premier

 prior to the prescriptions being reimbursed from government funds.

 195.    At all times relevant to this Complaint, Patient 8 was treated for hepatitis C by MD 3 at

 Physician Group 1.

 196.    On March 2, 2016, MD 3 sought prior authorization for Harvoni on behalf of Patient 8. At

 that time, the pharmacy requesting the prescription was CarePlus CVS Pharmacy. The lab report

 that was submitted with that request, dated December 9, 2015, showed a fibrosis score of 0.19 and

 a metavir score of F0.

 197.    On March 3, 2016 DMAS denied the prior authorization request because Patient 8 did not

 meet the eligibility criteria.

 198.    Patient 8, through MD 3, appealed the denial both to Virginia Premier and to DMAS. In

 the appeals, MD 3 acknowledged that Patient 8 did not qualify to receive Harvoni based on the

 metavir score requirements. The denials were upheld and Patient 8 was not approved to receive

 Harvoni.

 199.    On May 13, 2016, MD 3 completed Walgreens’ Prescription/Pharmacy intake form for

 Patient 8.

 200.    On May 16, 2016, Walgreens submitted or caused to be submitted a prior authorization

 request to DMAS on behalf of Patient 8 for Harvoni 90MG-400MG tablets.                The prior

 authorization request attested that Patient 8’s metavir score was F3.

 201.    The prior authorization form is purported to be signed by MD 3. However, this signature

 does not match MD 3’s signature on the Prescription/Pharmacy intake form and MD 3 has

 confirmed that they did not sign the prior authorization form.




                                                 34
Case 1:21-cv-00032-JPJ-PMS Document 1 Filed 06/22/21 Page 35 of 56 Pageid#: 35




 202.     In support of the prior authorization request, Walgreens submitted or caused to be

 submitted a falsified lab report. The report was an alteration of the December 9, 2015 report in

 which the fibrosis score of 0.19 was changed to a handwritten score of 0.59 and the fibrosis

 stage/metavir score was changed from F0 to F3.

 203.     On May 17, 2016, relying on the false fibrosis score and false fibrosis stage/metavir score

 submitted or caused to be submitted by Walgreens, DMAS approved the prior authorization

 request for Patient 8.

 204.     The false information on Patient 8’s metavir score on the prior authorization request was a

 material false statement, as were the false fibrosis score and fibrosis stage/metavir score on the lab

 reports discussed above.

 205.     The claims would not have been paid absent the submission of these material false

 statements.

 206.     Virginia Medicaid paid Walgreens a total of $96,223.65 for Harvoni 90MG-400MG tablets

 for Patient 8. To date, Walgreens has not repaid Virginia Medicaid for any amount of this false

 claim.

          Patient 9

 207.     Patient 9 was a Virginia Medicaid recipient who received Harvoni 90MG-400MG tablets

 on October 5, 2015.        Because Patient 9’s coverage was provided through Aetna, a prior

 authorization was required to be submitted to Aetna prior to the prescription being reimbursed

 from government funds.

 208.     At all times relevant to this Complaint, Patient 9 was treated for hepatitis C by MD 1 at

 Physician Group 1.




                                                  35
Case 1:21-cv-00032-JPJ-PMS Document 1 Filed 06/22/21 Page 36 of 56 Pageid#: 36




 209.   On September 30, 2015, MD 1 completed or caused to be completed Walgreens’

 Prescription/Pharmacy intake form for Patient 9.

 210.   On October 1, 2015, Walgreens submitted or caused to be submitted a prior authorization

 request to DMAS on behalf of Patient 9 for Harvoni 90MG-400MG tablets.                      The prior

 authorization request attested that Patient 9 had a metavir score of F3 or greater.

 211.   The prior authorization form is purported to be signed by MD 1. However, this signature

 does not match MD 1’s signature on the Prescription/Pharmacy intake form and MD 1 has

 confirmed that they did not sign the prior authorization form.

 212.   In support of the prior authorization request, Walgreens submitted or caused to be

 submitted a lab report purportedly from Takoma Regional Hospital with a collection date of

 August 27, 2015. The report evidences a fibrosis stage of F3 and a fibrosis score of 0.65. The

 report was falsified. Patient 9’s name was substituted onto the header of a lab report for a different,

 unknown individual.

 213.   Based on DMAS’ billing records, Takoma Regional Hospital never billed DMAS for

 services for Patient 9.

 214.   Patient 9’s patient file maintained by Physician Group 1 does not contain any record of any

 lab work being done for Patient 9 at Takoma Regional Hospital.

 215.   On October 2, 2015, relying on the falsified fibrosis score and fibrosis stage submitted or

 caused to be submitted by Walgreens, DMAS approved the prior authorization request for Patient

 9.

 216.   The false information on Patient 9’s metavir score on the prior authorization request was a

 material false statement, as were the falsified fibrosis score and fibrosis stage on the lab report

 discussed above.



                                                   36
Case 1:21-cv-00032-JPJ-PMS Document 1 Filed 06/22/21 Page 37 of 56 Pageid#: 37




 217.     The claim would not have been paid absent the submission of these material false

 statements.

 218.     Virginia Medicaid paid Walgreens a total of $32,698.15 for Harvoni 90MG-400MG tablets

 for Patient 9. To date, Walgreens has not repaid Virginia Medicaid for any amount of this false

 claim.

          Patient 10

 219.     Patient 10 was a Virginia Medicaid recipient who received Harvoni 90MG-400MG tablets

 on May 16, 2016 and June 7, 2016. Because Patient 10 was a FFS recipient, a prior authorization

 was required to be submitted to Magellan prior to the prescription being reimbursed from

 government funds.

 220.     At all times relevant to this Complaint, Patient 10 was treated for hepatitis C by NP 2 at

 Physician Group 1.

 221.     On May 10, 2016, NP 2 completed or caused to be completed Walgreens’

 Prescription/Pharmacy intake form for Patient 10.

 222.     On May 11, 2016, Walgreens submitted or caused to be submitted a prior authorization

 request to DMAS on behalf of Patient 10 for Harvoni 90MG-400MG tablets.                   That prior

 authorization request attested that Patient 10’s fibrosis score was greater than or equal to 0.59.

 223.     The prior authorization form is purported to be signed by NP 2. However, this signature

 does not match NP 2’s signature on the Prescription/Pharmacy intake form and NP 2 has confirmed

 that they did not sign the prior authorization form.

 224.     In support of the prior authorization request, Walgreens submitted or caused to be

 submitted a lab report from Solstas Labs with a collection date of May 3, 2015 and Specimen #

 N612461339. The report shows a fibrometer patient score of 0.99, a cirrhometer patient score of



                                                  37
Case 1:21-cv-00032-JPJ-PMS Document 1 Filed 06/22/21 Page 38 of 56 Pageid#: 38




 0.98, and a fibrosis metavir classification of F4. This lab report was falsified. The tests requested,

 as seen in the header, are not tests that include a fibrometer patient score, a cirrhometer patient

 score or a fibrosis metavir classification. This report substitutes the results of liver fibrosis testing

 from another, unknown individual onto the lab report with the header containing Patient 10’s name

 and patient information.

 225.    The actual lab report that corresponds to the Specimen # N612461339 does not include any

 results for a fibrometer patient score, a cirrhometer patient score, or a fibrosis metavir

 classification, but rather shows results for a different series of tests, which do match the tests

 requested in the header.

 226.    On May 11, 2016, after reviewing the prior authorization request and supporting materials,

 DMAS responded that Patient 10 met the disease severity guidelines to receive Harvoni, based on

 the falsified lab report. However, DMAS stated that Viekira Pak was the preferred medication

 given Patient 10’s genotype.

 227.    In response, Walgreens submitted or caused to be submitted a handwritten note stating:

 “patient is taking a medication for cholesterol that is contraindicated with Viekira.” NP 2 did not

 write this note, nor did they instruct or allow Walgreens to include this information on the response

 to DMAS.

 228.    A review of the patient file for Patient 10 maintained by Physician Group 1 includes a list

 of medications Patient 10 was taking, but does not include any medications for the treatment of

 high cholesterol. In fact, a lab report from February 12, 2016 shows Patient 10 had a cholesterol

 level that was minimally above the “desirable” range.

 229.    On May 12, 2016, relying on the false fibrometer patient score, false cirrhometer patient

 score, and false fibrosis metavir classification, as well as the false information regarding Patient



                                                    38
Case 1:21-cv-00032-JPJ-PMS Document 1 Filed 06/22/21 Page 39 of 56 Pageid#: 39




 10’s medications submitted or caused to be submitted by Walgreens, DMAS approved the prior

 authorization request for Patient 10.

 230.     The false information on Patient 10’s fibrosis score on the prior authorization request was

 a material false statement, as were the false information on Patient 10’s medications and the false

 fibrometer patient score, false cirrhometer patient score, and false fibrosis metavir classification

 on the lab report discussed above.

 231.     The claims would not have been paid absent the submission of these material false

 statements.

 232.     Virginia Medicaid paid Walgreens a total of $65,703.90 for Harvoni 90MG-400MG tablets

 for Patient 10. To date, Walgreens has not repaid Virginia Medicaid for any amount of this false

 claim.

          Patient 11

 233.     Patient 11 was a Virginia Medicaid recipient who received Harvoni 90MG-400MG tablets

 on February 19, 2015. Because Patient 11’s coverage was provided through Aetna, a prior

 authorization was required to be submitted to Aetna prior to the prescription being reimbursed

 from government funds.

 234.     At all times relevant to this Complaint, Patient 11 was treated for hepatitis C by NP 1 at

 Physician Group 1.

 235.     On January 29, 2015, NP 1 completed or caused to be completed Walgreens’

 Prescription/Pharmacy intake form for Patient 11.

 236.     On January 29, 2015, Walgreens submitted or caused to be submitted a prior authorization

 request to DMAS on behalf of Patient 11 for Harvoni 90MG-400MG tablets.                  That prior

 authorization attested that Patient 11’s metavir score was F3 or greater.



                                                  39
Case 1:21-cv-00032-JPJ-PMS Document 1 Filed 06/22/21 Page 40 of 56 Pageid#: 40




 237.     The prior authorization request form is purported to be signed by NP 1. However, this

 signature does not match NP 1’s signature on the Prescription/Pharmacy intake form and NP 1 has

 confirmed that they did not sign the prior authorization form.

 238.     In support of that prior authorization request, Walgreens submitted or caused to be

 submitted a lab report from Watauga Pathology Associates and Takoma Regional Hospital of a

 liver biopsy. The report contains a handwritten star next to a diagnosis report of cirrhosis (stage 4

 of 4). The report also contains the handwritten initials “AR.” This report was falsified. Patient

 11’s name is substituted onto the report for a different, unknown individual, which can be seen in

 the fact that the patient name and date of birth are in a font and size that does not match the rest of

 the report.

 239.     Based on DMAS’ billing records, neither Watauga Pathology Associates nor Takoma

 Regional Hospital billed DMAS for services for Patient 11 at any time.

 240.     Patient 11’s patient file maintained by Physician Group 1 does not contain any record of

 any testing being done by Watauga Pathology Associates or Takoma Regional Hospital.

 241.     Relying on the false lab reports regarding disease severity submitted or caused to be

 submitted by Walgreens, DMAS approved the prior authorization request for Patient 11.

 242.     The false information on Patient 11’s metavir score on the prior authorization request was

 a material false statement, as was the falsified lab report.

 243.     The claim would not have been paid absent the submission of these material false

 statements.

 244.     Virginia Medicaid paid Walgreens a total of $32,698.15 for Harvoni 90MG-400MG tablets

 for Patient 11. To date, Walgreens has not repaid Virginia Medicaid for any amount of this false

 claim.



                                                   40
Case 1:21-cv-00032-JPJ-PMS Document 1 Filed 06/22/21 Page 41 of 56 Pageid#: 41




        Patient 12

 245.   Patient 12 was a Virginia Medicaid recipient who received Harvoni 90MG-400MG tablets

 on January 27, 2016, February 22, 2016, and March 17, 2016. Because Patient 12 was a FFS

 recipient, a prior authorization was required to be submitted to Magellan prior to the prescription

 being reimbursed from government funds.

 246.   At all times relevant to this Complaint, Patient 12 was treated for hepatitis C by NP 3 at

 Physician Group 1.

 247.   On January 21, 2016, NP 3 at Physician Group 1 completed or caused to be completed

 Walgreens’ Prescription/Pharmacy intake form for Patient 12.

 248.   On January 22, 2016, Walgreens submitted or caused to be submitted a prior authorization

 request to DMAS on behalf of Patient 12 for Harvoni 90MG-400MG tablets.                 The prior

 authorization request attested that Patient 12 had been screened for drug and alcohol use.

 249.   The prior authorization form is purported to be signed by NP 3. However, this signature

 does not match NP 3’s signature on the Prescription/Pharmacy intake form and NP 3 has confirmed

 that they did not sign the prior authorization form.

 250.   In support of the prior authorization request, Walgreens submitted or caused to be

 submitted a urine drug screen performed at Quest Diagnostics on the letterhead of Morristown

 Gastroenterology, P.C. The report has a collection date of December 2015. The report notes “No

 Drugs Detected.” This report was falsified. Patient 12’s name and date of birth have been

 substituted onto the urine drug screen for another, unknown individual.

 251.   Quest Diagnostics has confirmed that they have no record of this urine drug screen for

 Patient 12.




                                                  41
Case 1:21-cv-00032-JPJ-PMS Document 1 Filed 06/22/21 Page 42 of 56 Pageid#: 42




 252.   Based on DMAS’ billing records, neither Quest Diagnostics nor Morristown

 Gastroenterology, P.C. billed DMAS for lab work for Patient 12 in December 2015.

 253.   Patient 12’s patient file maintained by Physician Group 1 does not contain any record of

 any lab work being done for Patient 12 at Quest Diagnostics or Morristown Gastroenterology, P.C.

 254.   On January 24, 2016, DMAS responded to the prior authorization request, indicating that

 they needed additional information. Specifically, DMAS asked whether Patient 12 could use the

 preferred alternative, Viekira Pak. In response, Walgreens submitted or caused to be submitted a

 handwritten note stating that the patient has a documented allergy to ritonavir, which Patient 12

 used as part of HIV prophylaxis, and Patient 12 had an anaphylactic reaction to ritonavir, so Patient

 12 was not able to use Viekira Pak. NP 3 did not write this note, nor did they instruct or allow

 Walgreens to include this information on the submission to DMAS.

 255.   Patient 12’s patient file maintained by Physician Group 1, which includes Patient 12’s

 history of medical conditions, does not indicate that Patient 12 was ever treated for HIV.

 256.   A lab report dated January 7, 2016 includes results for Patient 12 from a HIV 1/2 Ag/Ab

 test and shows a nonreactive result.

 257.   On January 25, 2016, relying on the false statement submitted or caused to be submitted

 by Walgreens, DMAS approved the prior authorization request for Patient 12. On January 26,

 2016, Walgreens informed Physician Group 1 of the approval.

 258.   The false information on Patient 12’s drug and alcohol use on the prior authorization

 request was a material false statement, as were the falsified urine drug screen and false information

 regarding Patient 12’s allergies.

 259.   The claims would not have been paid absent the submission of these material false

 statements.



                                                  42
Case 1:21-cv-00032-JPJ-PMS Document 1 Filed 06/22/21 Page 43 of 56 Pageid#: 43




 260.     Virginia Medicaid paid Walgreens a total of $98,555.85 for Harvoni 90MG-400MG tablets

 for Patient 12. To date, Walgreens has not repaid Virginia Medicaid for any amount of this false

 claim.


           D. Walgreens’ False Retention of Payments Made by DMAS Based On Fraudulent
                                              Submissions

 261.     Upon information and belief, Walgreens took steps to identify the payments that were made

 to Walgreens from Virginia Medicaid as a result of Reilly’s submissions of false claims as early

 as June 2016.

 262.     Beginning in June and July 2016, just weeks after Reilly’s employment was terminated,

 Walgreens initiated an internal process that identified payments for Virginia Medicaid recipients

 that were impacted by Walgreens’ fraudulent submissions.

 263.     Upon information and belief, the internal investigation included obtaining patient records

 from health care providers for the relevant Virginia Medicaid recipients.

 264.     On July 26, 2016, a representative from Walgreens Store # 13980 emailed an employee of

 Physician Group 1, seeking to obtain Physician Group 1’s records regarding the fibrosis scores or

 liver biopsy results for Virginia Medicaid recipients treated by Physician Group 1.          Upon

 information and belief, Walgreens sought materials for these Virginia Medicaid recipients and

 obtained accurate information related to the records maintained by Physician Group 1.

 265.     On November 7, 2018, the Commonwealth issued a subpoena duces tecum to Walgreens

 pursuant to §32.1-320 of the Code of Virginia (“the Virginia subpoena”), which required the

 production of all documents, electronic records, and communications pertaining to Virginia

 Medicaid recipients who obtained the Relevant Drugs from Walgreens Store # 13980 from July 1,

 2013 to the present.



                                                  43
Case 1:21-cv-00032-JPJ-PMS Document 1 Filed 06/22/21 Page 44 of 56 Pageid#: 44




 266.   Based on records produced by Walgreens pursuant to the Virginia subpoena, Walgreens

 had in its possession as early as August 2016 records for Virginia Medicaid recipients that

 documented that the recipients’ metavir stages, fibrosis scores, and other qualifying criteria did

 not meet the criteria for prior authorization approval for the Relevant Drugs.

 267.   Additionally, based on Walgreens’ internal records, Walgreens conducted an internal

 investigation at least as early as June 2016 in which it investigated prescriptions for the Relevant

 Drugs that were submitted by Walgreens Store # 13980, including prescriptions reimbursed by

 DMAS.

 268.   At least as early as June 2016, patient and prescription data for all 12 Virginia Medicaid

 recipients discussed above was included in documentation that was in the possession of high-level

 Walgreens employees at the corporate level, including Walgreens’ Director of Asset Protection

 Solutions and Walgreens’ Manager of Asset Protection Solutions, as well as Walgreens’ Manager

 for Quality Assurance and Patient Safety and the Area Healthcare Supervisor for the region

 covering Virginia and Tennessee.

 269.   This patient and prescription data included patient names, prescriber information, the

 relevant insurance plan, including information on the responsible MCO, as well as Walgreens’

 cost of filling the prescriptions, Walgreens’ revenue from filling the prescription, and Walgreens’

 profit from the prescription.

 270.   Upon information and belief, at no time prior to June 2017 did any representative of

 Walgreens contact any Virginia government employee or their agent to discuss returning funds

 obtained related to the fraudulent conduct. The first contact between any representative of

 Walgreens and any Virginia government employee or their agent occurred in September 2017.




                                                 44
Case 1:21-cv-00032-JPJ-PMS Document 1 Filed 06/22/21 Page 45 of 56 Pageid#: 45




 271.   Upon information and belief, at no time prior to the issuance of the Virginia subpoena had

 any representative of Walgreens contacted DMAS, including any of its contractors responsible for

 administering the Virginia Medicaid program, to notify them of the payments from the Virginia

 Medicaid program that resulted from Walgreens’ fraudulent conduct.

 272.   Upon information and belief, at no time prior to the filing of this complaint has Walgreens

 contacted DMAS, including any of its contractors responsible for administering the Virginia

 Medicaid program, to discuss the return of the payments from the Virginia Medicaid program that

 resulted from Walgreens’ fraudulent conduct.

 273.   To date, Walgreens has not reimbursed the Virginia Medicaid program for any amount of

 the funds obtained because of the fraudulent conduct.


                                    CLAIMS FOR RELIEF

                                           COUNT I
                           False Claims Act, 31 U.S.C. §3729(a)(1)(A)
                                      Making a False Claim

 274.   The Government re-alleges and incorporates herein by reference paragraphs 1 through 273

 set out above.

 275.   The FCA, 31 U.S.C. § 3729 (a)(1)(A), provides, in relevant part, that any person who

 “knowingly presents, or causes to be presented, a false or fraudulent claim for payment or

 approval… is liable to the Unites States Government for a civil penalty . . . as adjusted by the

 Federal Civil Penalties Inflation Adjustment Act of 1990 (28 U.S.C. § 2461 note; Public Law 104-

 410), plus 3 times the amount of damages which the Government sustains because of the act of

 that person.” 31 U.S.C. §3729(a)(1)(A).




                                                45
Case 1:21-cv-00032-JPJ-PMS Document 1 Filed 06/22/21 Page 46 of 56 Pageid#: 46




 276.    Walgreens presented or caused to be presented false or fraudulent claims for payment or

 approval to DMAS, with knowledge they were false, and/or with deliberate ignorance of their truth

 or falsity, and/or with reckless disregard for their truth or falsity.

 277.    Walgreens is, therefore, liable to the United States for civil penalties for each claim, plus

 three times the amount of damages the United States sustained because of Walgreens’ conduct.

                                          COUNT II
                         False Claims Act, 31 U.S.C. § 3729(a)(1)(B)
              Knowingly Making or Using a False or Fraudulent Record Material to a
                                  False or Fraudulent Claim

 278.    The Government re-alleges and incorporates herein by reference paragraphs 1

 through 277 set out above.

 279.    The FCA, 31 U.S.C. § 3729 et seq., provides in relevant part, that any person who

 “knowingly makes, uses or causes to be made or used, a false record or statement material to

 a false or fraudulent claim…is liable to the Government for a civil penalty of not less than

 $5,500 and not more than $11,000, as adjusted by the Federal Civil Penalties Inflation

 Adjustment Act of 1990 (28 U.S.C. § 2461), plus 3 times the amount of damages which the

 Government sustains because of the act of that person.” 31 U.S.C. § 3729(a)(1)(B).

 280.    Walgreens knowingly made, used or caused to be made or used, false records or

 statements to get false or fraudulent claims paid or approved by DMAS.

 281.    Walgreens’ false and/or fraudulent representations to DMAS related to patient

 eligibility criteria were material to DMAS’ decision to pay the claims. Thus, Walgreens

 knowingly, and/or with deliberate ignorance of their truth or falsity, and/or with reckless

 disregard for their truth or falsity presented, or caused to be presented, false or fraudulent

 claims to the United States that were material for payment or approval.



                                                    46
Case 1:21-cv-00032-JPJ-PMS Document 1 Filed 06/22/21 Page 47 of 56 Pageid#: 47




 282.   Walgreens is therefore liable to the United States for civil penalties for each claim, plus

 three times the amount of damages the United States sustained because of Walgreens’ conduct.

                                           COUNT III
                            False Claims Act, 31 U.S.C. § 3729(a)(1)(G)
                                       Reverse False Claims

 283.   The Government re-alleges and incorporates herein by reference paragraphs 1

 through 282 set out above.

 284.   Walgreens knowingly and improperly avoided an obligation to pay money to the

 Government, in violation of the FCA, 31 U.S.C. § 3729(a)(1)(G), when it learned of the

 overpayment made by DMAS for the Relevant Drugs and failed to return the monies improperly

 paid for these false claims.

 285.   Because of the Walgreens’ acts, the United States has suffered damages and is entitled to

 and requests treble damages under the FCA in an amount to be determined at trial, plus a civil

 statutory penalty for each violation.



                                         COUNT IV
        Virginia Fraud Against Taxpayers Act, VA. CODE ANN. § 8.01-216.3(A)(1) (2018)
                                    Making a False Claim

 286.   The Government re-alleges and incorporates herein by reference paragraphs 1 through 285

 set out above.

 287.   The VFATA provides, in relevant part, that any person who “knowingly presents, or causes

 to be presented, a false or fraudulent claim for payment or approval . . . shall be liable to the

 Commonwealth for a civil penalty . . . plus 3 times the amount of damages sustained by the

 Commonwealth.” VA. CODE ANN. § 8.01-216.3(A)(1) (2018).




                                                47
Case 1:21-cv-00032-JPJ-PMS Document 1 Filed 06/22/21 Page 48 of 56 Pageid#: 48




 288.    Walgreens presented or caused to be presented false or fraudulent claims for payment or

 approval to DMAS, with knowledge they were false, and/or with deliberate ignorance of their truth

 or falsity, and/or with reckless disregard for their truth or falsity.

 289.    Walgreens is, therefore, liable to the Commonwealth for civil penalties, plus three times

 the amount of damages the Commonwealth sustained because of Walgreens’ conduct.

                                              COUNT V
           Virginia Fraud Against Taxpayers Act, VA. CODE ANN. § 8.01-216.3(A)(2) (2018)
                 Knowingly Making or Using a False or Fraudulent Record Material to a
                                   False or Fraudulent Claim

 290.    The Government re-alleges and incorporates herein by reference paragraphs 1

 through 289 set out above.

 291.    The VFATA specifically provides, in relevant part, that any person who knowingly

 makes, uses, or causes to be made or used, a false record or statement material to a false or

 fraudulent claim shall be liable to the Commonwealth for a civil penalty as prescribed by law

 plus three times the amount of damages sustained by the Commonwealth. VA. CODE ANN.

 § 8.01-216.3(A)(2) (2018).

 292.    Walgreens knowingly, and/or with deliberate ignorance of their truth or falsity, and/or

 with reckless disregard for their truth or falsity submitted or caused to be submitted claims

 to the Commonwealth, through DMAS, which were false or fraudulent. As a result of the

 conduct alleged above, DMAS paid Walgreens for the false claims it submitted or caused to

 be submitted for payment and suffered damages.

 293.    Walgreens’ false and/or fraudulent representations to DMAS related to patient

 eligibility criteria were material to DMAS’ decision to pay the claims. Thus, Walgreens

 knowingly, and/or with deliberate ignorance of their truth or falsity, and/or with reckless

 disregard for their truth or falsity presented, or caused to be presented, false or fraudulent

                                                    48
Case 1:21-cv-00032-JPJ-PMS Document 1 Filed 06/22/21 Page 49 of 56 Pageid#: 49




 claims to the Commonwealth that were material for payment or approval in violation of VA.

 CODE ANN. § 8.01-216.1, et seq. (2018).

 294.   Walgreens is, therefore, liable to the Commonwealth for civil penalties plus three

 times the amount of actual damages the Commonwealth sustained because of Walgreens’

 conduct.

                                          COUNT VI
         Virginia Fraud Against Taxpayers Act, VA. CODE ANN. § 8.01-216.3(A)(7)(2018)
                                     Reverse False Claim

 295.   The Government re-alleges and incorporates herein by reference paragraphs 1

 through 294 set out above.

 296.   Walgreens made and used or caused to be made or used false records or statements material

 to an obligation to pay or transmit money to the Commonwealth, or knowingly concealed, avoided,

 or decreased an obligation to pay or transmit money to the Commonwealth.

 297.   Walgreens knowingly and willfully retained overpayments it received from DMAS for

 claims after it had identified or should have identified those claims as false.

 298.   Such false records or statements or knowing concealment, avoidance or decrease of an

 obligation to pay or transmit money to the Commonwealth were made or done knowingly by

 Walgreens, as defined in VA. CODE ANN. § 8.01-216.3(A)(7) (2018).

 299.   Walgreens is therefore liable to the Commonwealth for civil penalties, plus three times the

 amount of damages the Commonwealth sustained because of Walgreens’ conduct.

                                            COUNT VII
                  Virginia Medicaid Fraud Statute, VA. CODE ANN. § 32.1-312 (2018)

 300.   The Government re-alleges and incorporates herein by reference paragraphs 1 through 299

 set out above.

 301.   The Virginia Medicaid Fraud Statute, as amended, provides, in relevant part:

                                                  49
Case 1:21-cv-00032-JPJ-PMS Document 1 Filed 06/22/21 Page 50 of 56 Pageid#: 50




        A.      No person, agency or institution, but not including an individual medical
        assistance recipient of health care, on behalf of himself or others, whether under a
        contract or otherwise, shall obtain or attempt to obtain benefits or payments where
        the Commonwealth directly or indirectly provides any portion of the benefits or
        payments pursuant to the Plan for Medical Assistance and any amendments thereto
        as provided for in § 32.1-325, hereafter referred to as “medical assistance” in a
        greater amount than that to which entitled by:

                       1.    Knowingly and willfully making or causing to be
                       made any false statement or false representation of material
                       fact;

                       2.     Knowingly and willfully concealing or causing to be
                       concealed any material facts; or . . .

        B.      Any person, agency or institution knowingly and willfully violating
        any of the provisions of subsection A shall be (i) liable for repayment of
        any excess benefits or payments received, plus interest on the amount of the
        excess benefits or payments at the rate of 1.5 percent each month for the
        period from the date upon which payment was made to the date upon which
        repayment is made to the Commonwealth and (ii) in addition to any other
        penalties provided by law, subject to civil penalties. The state Attorney
        General may petition the circuit court in the jurisdiction of the alleged
        offense, to seek an order assessing civil penalties in an amount not to exceed
        three times the amount of such excess benefits or payments. Such civil
        penalties shall not apply to any acts or omissions occurring prior to the
        effective date of this law.

        VA. CODE ANN. § 32.1-312 (2018).

 302.   Walgreens made, caused to be made, or used claims which were false or fraudulent, in that

 these claims sought payment for the Relevant Drugs for recipients who did not meet the eligibility

 criteria. The Commonwealth, through DMAS, paid these claims. Accordingly, Walgreens

 obtained, or attempted to obtain, excess payments from the Commonwealth by:


        a) knowingly and willfully making or causing to be made a false statement
           or false representation of material fact relating to the provision of
           prescription drugs; or,

        b) knowingly and willfully concealing or causing to be concealed material
           facts regarding the provision of prescription drugs.



                                                 50
Case 1:21-cv-00032-JPJ-PMS Document 1 Filed 06/22/21 Page 51 of 56 Pageid#: 51




 303.    But for Walgreens’ actions as alleged above, DMAS would not have paid Walgreens.

 Thus, the creation, use, and submission of the false claims were material to the Commonwealth’s

 decision to pay Walgreens.

 304.    Accordingly, Walgreens is liable to the Commonwealth for repayment of any excess

 benefits or payments received, plus interest on the amount of the excess benefits or payments at

 the rate of 1.5 percent each month for the period from the date upon which payment was made to

 the date upon which repayment is made to the Commonwealth and, in addition to any other

 penalties provided by law, civil penalties in an amount not to exceed three times the amount of

 such excess benefits or payments.

                                          COUNT VIII
                                        Unjust Enrichment

 305.    The Government re-alleges and incorporates herein by reference paragraphs 1 through 304

 set out above.

 306.    Walgreens submitted prior authorizations to DMAS for prescription drugs the recipients

 were not qualified to receive. DMAS thereafter paid Walgreens based on Walgreens’ submission

 of those false or fraudulent claims.

 307.    Walgreens knew that DMAS paid these claims.

 308.    Walgreens accepted and retained payments for these false claims, rendering it inequitable

 for Walgreens to retain those payments without returning the value. By receiving and retaining

 funds to which it was not entitled, Walgreens was unjustly enriched and the Government deprived

 of its property.

 309.    The Commonwealth funds its Medicaid Program under a matching grant in which a portion

 of the money lost as a result of Walgreens’ fraudulent conduct alleged herein is federal funds, and




                                                 51
Case 1:21-cv-00032-JPJ-PMS Document 1 Filed 06/22/21 Page 52 of 56 Pageid#: 52




 a portion of the money lost as a result of Walgreens’ conduct alleged herein is the

 Commonwealth’s funds.

 310.    Walgreens was unjustly enriched, at the expense of the Government, in such amounts as

 determined at trial.

                                           COUNT IX
                                        Payment by Mistake

 311.    The Government re-alleges and incorporates herein by reference paragraphs 1 through 310

 set out above.

 312.    DMAS made payments to Walgreens based upon the belief that Walgreens was properly

 entitled to receive those payments. DMAS based this belief upon representations made by

 Walgreens that it was entitled to receive those payments. Walgreens received and retained the

 benefit of those payments and it was not entitled to receive those payments.

 313.    DMAS’s belief that Walgreens was entitled to these payments was mistaken and erroneous

 because Walgreens did not comply with the applicable statutes and regulations.

 314.    Due to these payments by mistake, Walgreens has received monies to which it was not

 entitled.

 315.    The Commonwealth funds its Medicaid Program under a matching grant in which a portion

 of the money lost as a result of Walgreens’ fraudulent conduct alleged herein is federal funds, and

 a portion of the money lost as a result of Walgreens’ conduct alleged herein is the

 Commonwealth’s funds.

 316.    The Government is entitled to recover those funds wrongfully, erroneously, or illegally

 paid to Walgreens.

 317.    Walgreens’ actions caused the Government to be damaged in a substantial amount to be

 determined at trial.

                                                 52
Case 1:21-cv-00032-JPJ-PMS Document 1 Filed 06/22/21 Page 53 of 56 Pageid#: 53




                                         COUNT X
                                     COMMON LAW FRAUD

 318.   The Government re-alleges and incorporates herein by reference paragraphs 1 through 317

 set out above.

 319.   Walgreens submitted or caused to be submitted prior authorization forms, which also

 included supporting medical documentation, to the Commonwealth through DMAS. DMAS

 thereafter paid Walgreens based on Walgreens’ submission of such prior authorizations and

 documentation.

 320.   Walgreens knowingly, and/or with deliberate ignorance of their truth or falsity, and/or with

 reckless disregard for their truth or falsity submitted or caused to be submitted claims to the

 Commonwealth that were false and/or fraudulent, in that these claims were based on forged prior

 authorization forms and medical records.

 321.   Walgreens made or caused to be made false representations of material facts intentionally

 and knowingly with the intent to mislead the Commonwealth regarding Walgreens’ submission of

 prior authorization forms and medical documentation.

 322.   Walgreens intended that the Commonwealth rely upon these material representations.

 323.   The Commonwealth reasonably relied upon Walgreens’ fraudulent misrepresentations. As

 a result, the Commonwealth paid for claims that it otherwise would not have paid but for

 Walgreens’ fraudulent statements.

 324.   The Commonwealth funds its Medicaid Program under a matching grant in which a portion

 of the money lost as a result of Walgreens’ fraudulent conduct alleged herein is federal funds, and

 a portion of the money lost as a result of Walgreens’ fraudulent conduct alleged herein is the

 Commonwealth’s funds.




                                                 53
Case 1:21-cv-00032-JPJ-PMS Document 1 Filed 06/22/21 Page 54 of 56 Pageid#: 54




 325.   Due to Walgreens’ fraudulent conduct alleged above, Walgreens is liable to the United

 States and the Commonwealth for compensatory and punitive damages.



                                     PRAYER FOR RELIEF

 WHEREFORE, the United States and the Commonwealth respectfully pray:

 326.   That the acts alleged herein be adjudged and decreed to be unlawful in violation of the

 False Claims Act, the Virginia Fraud Against Taxpayers Act, and the Virginia Medicaid Fraud

 Statute;

 327.   That the Government recover three-fold the damages determined to have been sustained

 by them pursuant to 31 U.S.C. § 3729(a) (2018) and VA. CODE ANN. § 8.01-216.3 (2018), and that

 judgment be entered against Defendant in favor of the Government;

 328.   That the Government recover costs pursuant to 31 U.S.C. § 3729(a)(3) and VA. CODE ANN.

 § 8.01-216.3(A);

 329.   That Walgreens be ordered to pay civil penalties pursuant to 31 U.S.C. § 3729(a) and VA.

 CODE ANN. § 8.01-216.3(A) for each false claim filed;

 330.   That Walgreens be ordered to pay the amount of excess payments made by the

 Commonwealth as a result of Walgreens’ violation of the Virginia Medicaid Fraud Statute plus

 interest at the rate of 1.5 percent each month for the period from the date upon which payment was

 made to the date upon which repayment is made to the Commonwealth pursuant to VA. CODE ANN.

 § 32.1-312(B) (2018).

 331.   That Walgreens be ordered, in addition to any other penalties provided by law, to pay civil

 penalties pursuant to VA. CODE ANN. § 32.1-312(B), for up to three times the amount of excess




                                                54
Case 1:21-cv-00032-JPJ-PMS Document 1 Filed 06/22/21 Page 55 of 56 Pageid#: 55




 payments made by the Commonwealth as a result of Walgreens’ violations of the Virginia Fraud

 Statute;

 332.   That the Walgreens be ordered to pay compensatory damages equal to the amount of excess

 payments made by the Commonwealth as a result of Walgreens’ actions plus punitive damages as

 deemed appropriate by the Court;

 333.   That Walgreens be ordered to return, on equitable grounds, the amount of the fraudulently

 obtained payments to the Commonwealth and the United States.

 334.   That the Government be granted such other and further relief as the Court deems just,

 equitable, and proper.

 DATED: June 22, 2021

                                             Respectfully submitted,

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                                               55
Case 1:21-cv-00032-JPJ-PMS Document 1 Filed 06/22/21 Page 56 of 56 Pageid#: 56




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                                      56
